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&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-09-01056-CV

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&nbsp;

TEFERA TSEGAYE, Appellant

&nbsp;

V.

&nbsp;

RUTH MESSELE, Appellee

&nbsp;



&nbsp;

On Appeal from the 310th District Court

Harris County, Texas

Trial Court Cause No. 2006-63441

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed September 30, 2009.&nbsp; No
clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court that the
appellant did not make arrangements to pay for the record.&nbsp; 

On February 10, 2009, notification was transmitted to all
parties of the court's intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Frost, Boyce, and Sullivan. 

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